Case 2:05-cr-06042-EFS   ECF No. 137   filed 06/29/06   PageID.345 Page 1 of 6
Case 2:05-cr-06042-EFS   ECF No. 137   filed 06/29/06   PageID.346 Page 2 of 6
Case 2:05-cr-06042-EFS   ECF No. 137   filed 06/29/06   PageID.347 Page 3 of 6
Case 2:05-cr-06042-EFS   ECF No. 137   filed 06/29/06   PageID.348 Page 4 of 6
Case 2:05-cr-06042-EFS   ECF No. 137   filed 06/29/06   PageID.349 Page 5 of 6
Case 2:05-cr-06042-EFS   ECF No. 137   filed 06/29/06   PageID.350 Page 6 of 6
